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                     EXHIBIT D
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                                                                              Page 1
·1· · WILLIAM SINGHOSE, Ph.D -

·2· · · · · · ·IN THE UNITED STATES DISTRICT COURT

·3· · · · · · FOR THE EASTERN DISTRICT OF VIRGINIA

·4· · · · · · · · · · · NORFOLK DIVISION

·5· ·-----------------------------------------X
· · ·THE COLEMAN COMPANY, INC.,
·6
· · · · · · · · · ·Plaintiff/Counter-claim Defendant,
·7

·8· · · · · · · · · vs.

·9· ·TEAM WORLDWIDE CORPORATION,

10· · · · · · · · ·Defendant/Counter-claim Plaintiff.
· · ·-----------------------------------------X
11

12· · · · · · · · · · ATTORNEYS' EYES ONLY

13· · · ·VIDEOTAPED DEPOSITION OF WILLIAM SINGHOSE, Ph.D

14· · · · · · · · · · taken remotely via ZOOM

15· · · · · · · · · · · Atlanta, Georgia

16· · · · · · · · ·Wednesday, August 18, 2021

17

18·   ·REPORTED   BY:
· ·   · · · · ·   · ·   BOBBIE ZELTMAN
19·   · · · · ·   · ·   Professional Realtime Court Reporter
· ·   · · · · ·   · ·   and Notary for New York and Florida
20·   · · · · ·   · ·   Located in Fort Lauderdale, Florida

21

22· ·Job Number· 198481

23

24

25
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                                                                              Page 7
·1· · WILLIAM SINGHOSE, Ph.D -
·2· · · · · ·law firm in Washington, D.C.
·3· · · · · · · · ·THE VIDEOGRAPHER:· Will the
·4· · · · · ·court reporter please swear in the
·5· · · · · ·witness.
·6· · · · · · · · ·THE REPORTER:· Raise your right
·7· · · · · ·hand, please, sir.
·8· · · · · · · · ·Do you solemnly swear that the
·9· · · · · ·testimony you're about to give will be
10· · · · · ·the truth, the whole truth and nothing
11· · · · · ·but the truth, so help you God?
12· · · · · · · · ·THE WITNESS:· Yes.
13· · · · · · · · ·THE REPORTER:· Thank you.· Hold on.
14· · · · · · · · ·You may proceed.
15· · · · · · · · · ·WILLIAM SINGHOSE, Ph.D,
16· · · · · · · having been first duly sworn by
17· · · · · ·Barbara R. Zeltman, Notary Public, was
18· · · · · · ·examined and testified as follows:
19· · · · · · · · · · · · EXAMINATION
20· ·BY MR. WOODS:
21· · · · · ·Q· · ·Good morning, Dr. Singhose.
22· · · · · ·A· · ·Good morning.
23· · · · · ·Q· · ·My name is Michael Woods and I
24· · · · represent the defendant in this litigation,
25· · · · Team Worldwide Corporation, in a lawsuit by
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                                                                             Page 76
·1· · WILLIAM SINGHOSE, Ph.D -
·2· ·BY MR. WOODS:
·3· · · · · ·Q· · ·Looking at the top of Page 28, you
·4· · · · have an image of a cross-section of an
·5· · · · accused TWW product.
·6· · · · · · · · ·Is it your opinion that what's
·7· · · · shown there meets this claim element
·8· · · · involving mattress coils?
·9· · · · · ·A· · ·Yes.
10· · · · · ·Q· · ·And what is your understanding of
11· · · · what is required for something to be a
12· · · · mattress coil in the context of the
13· · · · '618 patent?
14· · · · · ·A· · ·I think the '618 patent mattress
15· · · · coil indicates some physical structure that
16· · · · extends, as it says in the limitation,
17· · · · continuously from the first panel, the top
18· · · · panel to the bottom panel.· So the
19· · · · structures that extend between those two
20· · · · would tend to hold those surfaces, those
21· · · · panels together when it's inflated.
22· · · · · ·Q· · ·So then it's your opinion that
23· · · · what's shown -- strike that.
24· · · · · · · · ·Is it your opinion then that it
25· · · · just needs to be something that holds those
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                                                                             Page 77
·1· ·WILLIAM SINGHOSE, Ph.D - A
·2· · · ·two that run continuously from the first
·3· · · ·panel to the second panel?
·4· · · · · · · · MR. MORELAND:· Object to scope.
·5· · · · · Foundation.
·6· · · · · · · · Go ahead.
·7· · · · · A· · ·Yes, the '618 doesn't clarify what
·8· · · ·exactly these should look like in detail.
·9· · · ·There's just some material that extends from
10· · · ·the top to the bottom and the obvious use of
11· · · ·those is that when you put air in here, it
12· · · ·stops the two surfaces from spreading too
13· · · ·far apart.
14· · · · · · · · MR. WOODS:· Bear with me just a
15· · · · · moment.
16· · · · · · · · Dr. Singhose, I've uploaded to the
17· · · · · Chat feature what's been marked as
18· · · · · Exhibit 7.
19· · · · · · · · Please let me know when you have
20· · · · · that downloaded and open, please.
21· · · · · · · · THE WITNESS:· Okay.· I have
22· · · · · that downloaded and open.
23· · · · · · · (Singhose Exhibit 7, US Patent
24· · · · ·No. 7,089,618 to Metzger,
25· · · · ·COLEMAN_0000001 through
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                                                                             Page 78
·1· · WILLIAM SINGHOSE, Ph.D -
·2· · · · · COLEMAN_0000009, was marked for
·3· · · · · Identification.)
·4· ·BY MR. WOODS:
·5· · · · · ·Q· · ·You have in front of you what's
·6· · · · been marked as Singhose Exhibit 7.
·7· · · · · · · · ·It is US Patent Number 7,089,618.
·8· · · · It is a nine-page document with a beginning
·9· · · · Bates number in the lower right -- starting
10· · · · in the lower right of the first page of
11· · · · COLEMAN_0000001.
12· · · · · · · · ·Are you familiar with this
13· · · · document?
14· · · · · ·A· · ·Yes.
15· · · · · ·Q· · ·If you can go please to Column 5
16· · · · and I'm looking at the paragraph that begins
17· · · · about Line 11.
18· · · · · · · · ·Let me know when you're there.
19· · · · · ·A· · ·Okay.
20· · · · · ·Q· · ·It says in this paragraph beyond
21· · · · the second line, it says, "Each coil 18 has
22· · · · a first elongated member 19 and a space
23· · · · second elongate member 20 joined at one end
24· · · · to a first plate 21 and at a space second
25· · · · end to a second plate 23."
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                                                                             Page 79
·1· · WILLIAM SINGHOSE, Ph.D -
·2· · · · · · · · ·Is it your understanding that the
·3· · · · claim limitations which require mattress
·4· · · · coils in the '618 are limited to this
·5· · · · description in the specification about a
·6· · · · coil?
·7· · · · · · · · ·MR. MORELAND:· Object to scope.
·8· · · · · · · · ·Go ahead.
·9· · · · · ·A· · ·No, I do not think there's mention
10· · · · of limited to the description of a coil that
11· · · · is just in that one part of the patent
12· · · · because the coils and their properties are
13· · · · discussed in other parts of the patent as
14· · · · well.
15· ·BY MR. WOODS:
16· · · · · ·Q· · ·I'm sorry.· I was on mute again.
17· · · · Thank you.
18· · · · · · · · ·If you can go back please to
19· · · · Exhibit 1 at the top of Page 28 again and
20· · · · just let me know when you're there.
21· · · · · ·A· · ·Okay.
22· · · · · ·Q· · ·I'm sorry.· Did you say you're
23· · · · there?
24· · · · · ·A· · ·Yes, I'm there.
25· · · · · ·Q· · ·Oh, okay.· Apologies.· I didn't get
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                                                                                   Page 147
·1· · WILLIAM SINGHOSE, Ph.D -

·2· · · · · · · · · · C E R T I F I C A T E

·3· ·STATE OF FLORIDA· · )
· · · · · · · · · · · · · · ·: ss.
·4· ·COUNTY OF BROWARD· ·)

·5· · · · · · · · ·I, BARBARA R. ZELTMAN, a Professional

·6· · · · · ·Realtime Court Reporter and Notary Public,

·7· · · · · ·within and for the State of Florida, do

·8· · · · · ·hereby certify:

·9· · · · · · · · ·That WILLIAM SINGHOSE, Ph.D, the

10· · · · · ·witness whose deposition is hereinbefore

11· · · · · ·set forth, was duly sworn by me and that

12· · · · · ·such deposition is a true record of the

13· · · · · ·testimony given by the witness.

14· · · · · · · · ·I further certify that I am not

15· · · · · ·related to any of the parties to this

16· · · · · ·action by blood or marriage, and that I

17· · · · · ·am in no way interested in the outcome of

18· · · · · ·this matter.

19· · · · · · · · ·IN WITNESS WHEREOF, I have hereunto

20· · · · · ·set my hand this 30th day of August,

21· · · · · ·2021.

22
· ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ____________________________
23·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   BARBARA R. ZELTMAN
· ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   Professional Realtime Reporter
24·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   and Notary Public
· ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   COMM NO. HH 133639
25·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   EXP:· August 9, 2025
